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                           NOT FOR PUBLICATION

                    UNITED STATES COURT OF APPEALS
                                                                              FILED
                            FOR THE NINTH CIRCUIT
                                                                               JUL 06 2018
                                                                          MOLLY C. DWYER, CLERK
                                                                            U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                        No.   16-10413

              Plaintiff-Appellee,                D.C. No.
                                                 2:14-cr-00228-JAD-CWH-1
 v.

CHARLES EDWARD COOPER, Jr.,                      MEMORANDUM*

              Defendant-Appellant.



UNITED STATES OF AMERICA,                        No.   16-10449

              Plaintiff-Appellant,               D.C. No.
                                                 2:14-cr-00228-JAD-CWH-1
 v.

CHARLES EDWARD COOPER, Jr.,

              Defendant-Appellee.


                    Appeal from the United States District Court
                              for the District of Nevada
                    Jennifer A. Dorsey, District Judge, Presiding

                       Argued and Submitted June 15, 2018
                            San Francisco, California

       *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
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Before: SCHROEDER, EBEL,** and GOULD, Circuit Judges.

      Charles Edward Cooper appeals, pro se, his conviction and sentence for

being a felon in possession of a firearm in violation of 18 U.S.C. §§ 922(g)(1) and

924(a)(2). We appointed counsel to appear on his behalf for oral argument. The

government appeals the denial of a sentence enhancement pursuant to the Armed

Career Criminals Act (“ACCA”), 18 U.S.C. § 924(e), after the District Court ruled

Cooper’s prior convictions did not qualify as violent felonies. We affirm in all

respects.

      Officers arrested Cooper in his home, without a warrant, upon probable

cause to believe he had beaten his girlfriend. While the arrest was in violation of

Payton v. New York, 445 U.S. 573, 576 (1980), the statements Cooper made were

after officers removed him to a patrol car and read him his rights under Miranda v.

Arizona, 384 U.S. 436 (1966). His motion to suppress his statements was correctly

denied. Under New York v. Harris, 495 U.S. 14, 20–21 (1990), the statements in

the car were not the fruit of the warrantless arrest in his home. The Miranda

warning was sufficient, see United States v. Loucious, 847 F.3d 1146, 1149–51

(9th Cir. 2017), as was the information in the affidavit for the search warrant that



      **
            The Honorable David M. Ebel, United States Circuit Judge for the
U.S. Court of Appeals for the Tenth Circuit, sitting by designation.
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led to the recovery of the weapons, see United States v. Davis, 714 F.2d 896, 899

(9th Cir. 1983).

      The District Court did not abuse its discretion in refusing to allow Cooper to

call Agent Garcia as a witness, because the agent’s testimony would have been

cumulative. See United States v. Weischedel, 201 F.3d 1250, 1255 (9th Cir. 2000)

(“A district court can properly deny a Rule 17(b) subpoena request when the

testimony sought would be cumulative.”). The government called a different agent

as a witness to establish the element of the interstate nexus of the guns found in

Cooper’s home.

      During sentencing, the District Court addressed Cooper personally and

permitted him to speak or present information to mitigate his sentence. See Fed. R.

Crim. P. 32(i)(4)(A)(ii). Moreover, the court permitted Cooper to submit at least

two briefs to set forth his objections to the sentencing recommendations. See

United States v. Gunning, 401 F.3d 1145, 1147 (9th Cir. 2005). The District Court,

during the sentencing hearing, asked Cooper not to repeat the objections in his

brief, but this did not deny his allocution right to address the court.

      In the government’s sentencing cross-appeal, the government contends that

Cooper’s prior felony convictions for robbery with the use of a deadly weapon and

battery with substantial bodily harm qualify as violent felonies under the ACCA.


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The robbery statute does not qualify as a violent felony under the “enumerated-

offenses” clause of the ACCA because the Nevada statute punishes the

nonconsensual taking of property. See N.R.S. §§ 200.380, 193.165 (1983); United

States v. Dixon, 805 F.3d 1193, 1196–97 (9th Cir. 2015); Flynn v. State, 562 P.2d

1135, 1136 & n.1 (Nev. 1977) (per curiam). Nor does it qualify under the “force”

clause of the ACCA, because it punishes threats directed at property in addition to

threats directed at another person. See Dixon, 805 F.3d at 1197–98; United States

v. Sherbondy, 865 F.2d 996, 1010 (9th Cir. 1988).

      The robbery statute is indivisible, containing alternative means, not

elements. See Dixon, 805 F.3d at 1198. Because the robbery statute does not

constitute a categorical match to the ACCA definition of a violent felony, we need

not decide whether the battery conviction qualifies as a violent felony. Standing

alone, the battery conviction would not make Cooper eligible for sentencing as an

Armed Career Criminal in any event.

      The conviction and sentence are AFFIRMED.




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                     United States Court of Appeals for the Ninth Circuit

                                      Office of the Clerk
                                       95 Seventh Street
                                    San Francisco, CA 94103

             Information Regarding Judgment and Post-Judgment Proceedings

Judgment
     •   This Court has filed and entered the attached judgment in your case.
         Fed. R. App. P. 36. Please note the filed date on the attached
         decision because all of the dates described below run from that date,
         not from the date you receive this notice.

Mandate (Fed. R. App. P. 41; 9th Cir. R. 41-1 & -2)
    •     The mandate will issue 7 days after the expiration of the time for
          filing a petition for rehearing or 7 days from the denial of a petition
          for rehearing, unless the Court directs otherwise. To file a motion to
          stay the mandate, file it electronically via the appellate ECF system
          or, if you are a pro se litigant or an attorney with an exemption from
          using appellate ECF, file one original motion on paper.

Petition for Panel Rehearing (Fed. R. App. P. 40; 9th Cir. R. 40-1)
Petition for Rehearing En Banc (Fed. R. App. P. 35; 9th Cir. R. 35-1 to -3)

(1)     A.       Purpose (Panel Rehearing):
        •        A party should seek panel rehearing only if one or more of the following
                 grounds exist:
                 ►    A material point of fact or law was overlooked in the decision;
                 ►    A change in the law occurred after the case was submitted which
                       appears to have been overlooked by the panel; or
                 ►    An apparent conflict with another decision of the Court was not
                       addressed in the opinion.
        •        Do not file a petition for panel rehearing merely to reargue the case.

        B.       Purpose (Rehearing En Banc)
        •        A party should seek en banc rehearing only if one or more of the following
                 grounds exist:



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                ►       Consideration by the full Court is necessary to secure or maintain
                        uniformity of the Court’s decisions; or
                ►       The proceeding involves a question of exceptional importance; or
                ►       The opinion directly conflicts with an existing opinion by another
                        court of appeals or the Supreme Court and substantially affects a
                        rule of national application in which there is an overriding need for
                        national uniformity.

(2)     Deadlines for Filing:
        •    A petition for rehearing may be filed within 14 days after entry of
             judgment. Fed. R. App. P. 40(a)(1).
        •    If the United States or an agency or officer thereof is a party in a civil case,
             the time for filing a petition for rehearing is 45 days after entry of judgment.
             Fed. R. App. P. 40(a)(1).
        •    If the mandate has issued, the petition for rehearing should be
             accompanied by a motion to recall the mandate.
        •    See Advisory Note to 9th Cir. R. 40-1 (petitions must be received on the
             due date).
        •    An order to publish a previously unpublished memorandum disposition
             extends the time to file a petition for rehearing to 14 days after the date of
             the order of publication or, in all civil cases in which the United States or an
             agency or officer thereof is a party, 45 days after the date of the order of
             publication. 9th Cir. R. 40-2.

(3)     Statement of Counsel
        •     A petition should contain an introduction stating that, in counsel’s
              judgment, one or more of the situations described in the “purpose” section
              above exist. The points to be raised must be stated clearly.

(4)     Form & Number of Copies (9th Cir. R. 40-1; Fed. R. App. P. 32(c)(2))
        •    The petition shall not exceed 15 pages unless it complies with the
             alternative length limitations of 4,200 words or 390 lines of text.
        •    The petition must be accompanied by a copy of the panel’s decision being
             challenged.
        •    An answer, when ordered by the Court, shall comply with the same length
             limitations as the petition.
        •    If a pro se litigant elects to file a form brief pursuant to Circuit Rule 28-1, a
             petition for panel rehearing or for rehearing en banc need not comply with
             Fed. R. App. P. 32.


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      •       The petition or answer must be accompanied by a Certificate of Compliance
              found at Form 11, available on our website at www.ca9.uscourts.gov under
              Forms.
      •       You may file a petition electronically via the appellate ECF system. No paper copies are
              required unless the Court orders otherwise. If you are a pro se litigant or an attorney
              exempted from using the appellate ECF system, file one original petition on paper. No
              additional paper copies are required unless the Court orders otherwise.

Bill of Costs (Fed. R. App. P. 39, 9th Cir. R. 39-1)
       •     The Bill of Costs must be filed within 14 days after entry of judgment.
       •     See Form 10 for additional information, available on our website at
             www.ca9.uscourts.gov under Forms.

Attorneys Fees
     •     Ninth Circuit Rule 39-1 describes the content and due dates for attorneys fees
           applications.
     •     All relevant forms are available on our website at www.ca9.uscourts.gov under Forms
           or by telephoning (415) 355-7806.

Petition for a Writ of Certiorari
       •     Please refer to the Rules of the United States Supreme Court at
             www.supremecourt.gov

Counsel Listing in Published Opinions
     •     Please check counsel listing on the attached decision.
     •     If there are any errors in a published opinion, please send a letter in writing
           within 10 days to:
           ►      Thomson Reuters; 610 Opperman Drive; PO Box 64526; Eagan, MN 55123
                  (Attn: Jean Green, Senior Publications Coordinator);
            ►     and electronically file a copy of the letter via the appellate ECF system by using
                  “File Correspondence to Court,” or if you are an attorney exempted from using
                  the appellate ECF system, mail the Court one copy of the letter.




       Post Judgment Form - Rev. 08/2013                                                       3
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Form 10. Bill of Costs ................................................................................................................................(Rev. 12-1-09)


                                     United States Court of Appeals for the Ninth Circuit

                                                                         BILL OF COSTS

                                         This form is available as a fillable version at:
              http://cdn.ca9.uscourts.gov/datastore/uploads/forms/Form%2010%20-%20Bill%20of%20Costs.pdf.

   Note: If you wish to file a bill of costs, it MUST be submitted on this form and filed, with the clerk, with proof of
         service, within 14 days of the date of entry of judgment, and in accordance with 9th Circuit Rule 39-1. A
         late bill of costs must be accompanied by a motion showing good cause. Please refer to FRAP 39, 28
         U.S.C. § 1920, and 9th Circuit Rule 39-1 when preparing your bill of costs.


                                                             v.                                                            9th Cir. No.


       The Clerk is requested to tax the following costs against:




      Cost Taxable
     under FRAP 39,                                REQUESTED                                                           ALLOWED
    28 U.S.C. § 1920,                     (Each Column Must Be Completed)                                      (To Be Completed by the Clerk)
     9th Cir. R. 39-1
                                      No. of      Pages per           Cost per       TOTAL              No. of      Pages per        Cost per        TOTAL
                                      Docs.         Doc.               Page*          COST              Docs.         Doc.            Page*           COST

  Excerpt of Record                                               $              $                                               $               $


  Opening Brief                                                   $              $                                               $               $

  Answering Brief                                                 $              $                                               $               $

  Reply Brief                                                     $              $                                               $               $

  Other**                                                         $              $                                               $               $

                                                                  TOTAL: $                                                       TOTAL: $

   * Costs per page: May not exceed .10 or actual cost, whichever is less. 9th Circuit Rule 39-1.
   ** Other: Any other requests must be accompanied by a statement explaining why the item(s) should be taxed
             pursuant to 9th Circuit Rule 39-1. Additional items without such supporting statements will not be
             considered.

   Attorneys' fees cannot be requested on this form.
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Form 10. Bill of Costs - Continued



I,                                         , swear under penalty of perjury that the services for which costs are taxed
were actually and necessarily performed, and that the requested costs were actually expended as listed.


Signature
("s/" plus attorney's name if submitted electronically)

Date

Name of Counsel:


Attorney for:




(To Be Completed by the Clerk)

Date                                        Costs are taxed in the amount of $


                                             Clerk of Court

                                             By:                                            , Deputy Clerk
